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                        IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

 United States of America, et al.,

                               Plaintiffs,           Case No. 1:20-cv-03010-APM

 v.                                                  HON. AMIT P. MEHTA
 Google LLC,

                               Defendant.




 State of Colorado, et al.,

                               Plaintiffs,           Case No. 1:20-cv-03715-APM

 v.                                                  HON. AMIT P. MEHTA
 Google LLC,

                               Defendant.



               JOINT STATUS REPORT OF GOOGLE AND MICROSOFT

       Pursuant to Section I.K of the Court’s September 18, 2024, Order (ECF No. 1043),

Google and Microsoft provide the following update with respect to discovery.

I.     GOOGLE’S POSITION STATEMENT

       On January 24, 2025, Google noticed the deposition of Microsoft pursuant to Federal

Rule of Civil Procedure 30(b)(6). On February 3, 2025, Microsoft served responses and

objections, agreeing to designate a corporate representative to address some topics but not others.

The companies subsequently conferred and managed to resolve most– though not all– of their

disputes. Google now respectfully requests the Court’s assistance with respect to Topic No. 6 of

Google’s 30(b)(6) notice.
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        Topic No. 6 seeks testimony regarding “[t]he terms on which Microsoft syndicates its

search and search advertisement results for its syndication partners, including: (a) [a]ny

procedures and policies Microsoft follows to anonymize user data or otherwise protect its users’

privacy; and (b) [a]ny steps Microsoft takes to preserve the proprietary character of Bing’s

and/or Microsoft Advertising’s algorithms.” Microsoft has refused to designate a witness on any

aspect of this Topic.

        The subject matter of this request is directly relevant. Plaintiffs’ Proposed Final

Judgment would require Google to provide rivals access to user data as well as syndicated search

results and search text ads. See ECF No. 1062-1 §§ VI, VII. Those provisions sharply curtail the

steps that Google may take to protect users’ privacy and Google’s intellectual property. For

example, under Plaintiffs’ Proposed Final Judgment, all user-side data that Google collects and

uses as part of any of its products “can presumptively be shared” with rivals.1 Id. §§ VI.C-E.

Similarly, Plaintiffs’ Proposed Final Judgment forbids Google from protecting its proprietary

algorithms from misuse by others, as Google “may not place any conditions on how any licensee

may use syndicated content” under the Proposed Final Judgment. Id. §§ VII.A-B.

        At the Evidentiary Hearing, Google intends to offer evidence that these provisions exceed

the bounds of an appropriate remedial decree. Under the Sherman Act, a remedy may not

“interfere with ordinary commercial practices.” New York v. Microsoft Corp., 224 F. Supp. 2d

76, 133 (D.D.C. 2002) (quoting United States v. Bausch & Lomb Optical Co., 321 U.S. 707, 728

(1944)), aff’d, 373 F.3d 1199 (D.C. Cir. 2004). Discovery from Microsoft could shed light on

such issues as what industry practices are customary with respect to safeguarding user privacy

and protecting proprietary algorithms from reverse-engineering. As to user privacy and security,


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  Plaintiffs’ Proposed Final Judgment further prohibits Google from using and retaining any data that cannot be
shared due to privacy or security concerns. See ECF No. 1062-1 § VI.C.

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beyond bearing on industry practices, this discovery may also show that Microsoft’s privacy

protections are, in fact, not as rigorous as Google’s, an obvious problem if Google is

presumptively obligated to share its users’ data with any eligible competitor who asks. This

discovery may also show that Microsoft imposes restrictions on the permissible use, storage, and

analysis of Microsoft’s syndicated results by its syndication partners, and further that Microsoft

declines to share with its syndication partners much of the information contemplated by

Plaintiffs’ compelled syndication provision—practices intended to protect intellectual property.

In sum, testimony from Microsoft on Topic 6 is likely to yield relevant evidence bearing on the

merits of Sections VI and VII of Plaintiffs’ Proposed Final Judgment.

       Based on the companies’ conferral and Microsoft’s responses and objections, Google

understands that Microsoft refuses to designate a witness in part because Microsoft has agreed to

produce certain documents relating to Microsoft’s syndication of search results to third parties.

See Ex. A, at 9 (citing October 22, 2024 Subpoena Requests No. 35, 36, and 37). If so, that

answer is insufficient twice over. First, the classes of documents that Microsoft has agreed to

produce may relate to syndication in certain respects, but they do not address issues of privacy of

user data, as contemplated by subpart (a) of Topic 6. Second, and more fundamentally,

“document production is no substitute for the testimony of a Rule 30(b)(6) deponent.”

Homeland Ins. Co. of New York v. Health Care Serv. Corp., 2021 WL 601672, at *2 (N.D. Ill.

Feb. 16, 2021); see also Lockheed Martin Corp. v. United States, 2013 WL 1968372, at *5

(D.D.C. May 13, 2013) (agreeing with litigant that “[p]roducing documents and responding to

written discovery is not a substitute for providing a thoroughly educated Rule 30(b)(6)

deponent”). Thus, while Microsoft has agreed to produce documents that shed light on some

(though not all) of Topic No. 6, that is simply not a justification to refuse testimony on the topic.



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       In short, Topic No. 6 seeks plainly relevant and discoverable testimony. Microsoft

should prepare a witness to provide it.

II.    MICROSOFT’S POSITION STATEMENT

       On January 24, 2025, Google served on Microsoft a 30(b)(6) Deposition Notice (the

“Notice”) with eighteen broad and burdensome topics. Google’s Notice seeks from Microsoft

wide-ranging testimony on issues—many of marginal relevance—including the data used to train

Microsoft’s and OpenAI’s AI models, Microsoft’s consideration or analyses of Plaintiffs’

Proposed Final Judgment, Microsoft’s communications with Plaintiffs in this litigation, and many

other topics.

       Microsoft has worked hard to accommodate Google’s expansive request for 30(b)(6)

testimony, even going so far as to allow testimony into Microsoft’s limited communications with

Plaintiffs (despite Rule 45 being clear that such duplicative testimony should come from a party

to the dispute). But testimony regarding Microsoft’s practices regarding users’ privacy and

proprietary algorithms is a bridge too far. Specifically, Google seeks testimony on the following:

               Topic No. 6. The terms on which Microsoft syndicates its search and search
       advertisement results for its syndication partners, including:
               a. Any procedures and policies Microsoft follows to anonymize user data or
               otherwise protect its users’ privacy; and

                b. Any steps Microsoft takes to preserve the proprietary character of Bing’s
                and/or Microsoft Advertising’s algorithms.

       Requiring Microsoft to designate a witness to offer testimony on this Topic is improper

because Topic 6 does not seek relevant testimony. Topic 6 is entirely unrelated to the issues being

litigated during the remedies phase of this Action—which have nothing to do with non-party

Microsoft’s anonymization of user data or Microsoft’s algorithms.




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Dated: February 7, 2025            Respectfully submitted,

                                   By: /s/ John E. Schmidtlein
                                   John E. Schmidtlein (D.C. Bar No. 441261)
                                   Benjamin M. Greenblum (D.C. Bar No. 979786)
                                   Colette T. Connor (D.C. Bar No. 991533)
                                   WILLIAMS & CONNOLLY LLP
                                   680 Maine Avenue, SW
                                   Washington, DC 20024
                                   Tel: 202-434-5000
                                   jschmidtlein@wc.com
                                   bgreenblum@wc.com
                                   cconnor@wc.com

                                   WILSON SONSINI GOODRICH & ROSATI P.C.
                                   Franklin M. Rubinstein (D.C. Bar No. 476674)
                                   1700 K Street, NW
                                   Washington, DC 20006
                                   Tel: 202-973-8800
                                   frubinstein@wsgr.com

                                   ROPES & GRAY LLP
                                   Mark S. Popofsky (D.C. Bar No. 454213)
                                   2099 Pennsylvania Avenue, NW
                                   Washington, DC 20006
                                   Tel: 202-508-4624
                                   Mark.Popofsky@ropesgray.com

                                   Matthew McGinnis (admitted pro hac vice)
                                   Prudential Tower
                                   800 Boylston Street
                                   Boston, MA 02199
                                   Tel: 617-951-7703
                                   Matthew.McGinnis@ropesgray.com
                                   Counsel for Defendant Google LLC


                                   By: /s/ Julia Chapman
                                   Julia Chapman (pro hac vice)
                                   DECHERT LLP
                                   Cira Centre, 2929 Arch Street
                                   Philadelphia, PA 19104
                                   Tel.: (215) 994-2060
                                   Fax: (215) 994-2222
                                   julia.chapman@dechert.com



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                              John (Jay) Jurata, Jr. (DC Bar No. 478602)
                              DECHERT LLP
                              1900 K Street, NW
                              Washington, DC 20006
                              Tel.: (202) 261-3300
                              Fax: (202) 261-3333
                              jay.jurata@dechert.com

                              Russell P. Cohen (pro hac vice)
                              DECHERT LLP
                              45 Fremont Street, 26th Floor
                              San Francisco, CA 94105
                              Tel.: (415) 262-4506
                              Fax: (415) 262-4555
                              Russ.Cohen@dechert.com

                              Amy Ray (DC Bar No. 489086)
                              ORRICK, HERRINGTON, & SUTCLIFFE
                              LLP
                              2100 Pennsylvania Avenue NW
                              Washington, DC 20037
                              Tel.: (202) 239-8698
                              Fax: (202) 339-8500
                              amyray@orrick.com

                              Counsel for Third Party Microsoft Corporation




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